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04

05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07   UNITED STATES OF AMERICA,            )
                                          )             Case No. CR00-0184-TSZ-JPD
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   JONATHAN VANDERMUELEN,               )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An initial probation revocation hearing on supervised release violations in this case was

14   scheduled before the undersigned Magistrate Judge on February 8, 2006. The United States was

15   represented by Assistant United States Attorney Susan M. Roe, and the defendant by Mr.

16   Terrence Kellogg. The proceedings were recorded on cassette tape.

17          The defendant had been sentenced on or about October 27, 2000, by the Honorable

18   Thomas S. Zilly on a charge of conspiracy to import and distribute 100 or more kilograms of

19   marijuana in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), 846, 952(a), 960(b)(2)G, and

20   963. The defendant was sentenced to thirty-seven (37) months in custody, followed by five (5)

21   years of supervised release.

22          The conditions of supervised release included the requirement that the defendant comply

23   with all local, state, and federal laws, and with the standard conditions. Special conditions

24   imposed were substance-abuse treatment, search consent, no new credit obtained without the

25   United States Probation Officer’s approval, provide financial disclosure, a fine in the amount

26   of $7,500, and 120 days of electronic home monitoring.

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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01            In a Petition for Warrant or Summons for Offender Under Supervision dated January 17,

02   2006, U.S. Probation Officer Steven R. Gregoryk asserted the following violations by defendant

03   of the conditions of his supervised release:

04            (1)    Failing to submit a urinalysis sample that could be tested on September 28, 2005,

05   October 7, 2005, and January 10, 1006, in violation of the special condition of supervision

06   stating that the defendant shall participate in a program for the treatment of narcotic addiction,

07   which may include drug testing in order to determine if he has reverted to the use of drugs.

08            (2)    Using cocaine on or about January 10, 2006, in violation of standard condition

09   No. 7.

10            With the consent of defendant, on February 2, 2006, the Honorable Thomas S. Zilly

11   modified the October 27, 2006, conditions and terms of supervised released to include that

12   defendant complete forty (40) hours of community service by April 30, 2006, at the direction

13   of his probation officer.

14            The defendant admitted to violations No. 1 and 2, and waived any rights to an

15   evidentiary hearing as to whether they occurred.

16            I therefore recommend that the Court find the defendant to have violated the terms and

17   conditions of his supervised release as to violations No. 1 and 2, and that the Court conduct a

18   hearing limited to disposition. The hearing has been set before the Honorable Thomas S. Zilly

19   for June 8, 2006, at 3:00 p.m. Pending a final determination by the Court, the defendant has

20   been released, subject to continued supervision.

21

22
              DATED this 8th day of February, 2006.
                                                           A
                                                           JAMES P. DONOHUE
                                                           United States Magistrate Judge
23

24   cc:      District Judge:               Honorable Thomas S. Zilly
              AUSA:                         Ms. Susan Roe
25            Defendant’s attorney:         Mr. Terrence Kellogg
              Probation officer:            Mr. Steven R. Gregoryk
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     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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